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     Federal Defender
2    TIMOTHY ZINDEL, Bar #158377
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     Sacramento, California 95814
4    Telephone: (916) 498-5700
5
6    Attorney for Defendant
     DANIEL GOLDSMITH
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8
9                       IN THE UNITED STATES DISTRICT COURT
10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,       )     No. 2:11-cr-428 GEB
                                     )
14                  Plaintiff,       )
                                     )     STIPULATION AND ORDER
15        v.                         )     CONTINUING STATUS CONFERENCE
                                     )     AND EXCLUDING TIME
16   SMITH, et al.,                  )
                                     )
17                  Defendants.      )     Date: March 9, 2012
                                     )     Time: 9:00 a.m.
18   _______________________________ )     Judge: Garland E. Burrell, Jr.
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20
21        IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States
22   of America, and defendants, through their respective attorneys, that the
23   status conference scheduled for March 9, 2012, may be continued to March
24   30, 2012, at 9:00 a.m.
25        All defense counsel continue to research and investigate legal and
26   factual issues. To afford time for necessary preparation and review, the
27   parties agree that time under the Speedy Trial Act should be excluded
28   through March 30, 2012, pursuant to 18 U.S.C. § 3161(h)(7)(A) and that
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1    the ends of justice served by taking such action outweigh the best
2    interest of the public and the defendant in a speedy trial.
3                                              Respectfully submitted,
4                                              DANIEL J. BRODERICK
                                               Federal Defender
5
6    Dated:    March 7, 2012                   /s/ T. Zindel
                                               TIMOTHY ZINDEL
7                                              Assistant Federal Defender
                                               Attorney for DANIEL GOLDSMITH
8
9    Dated:    March 7, 2012                   /s/ T. Zindel for M. Reichel
                                               MARK REICHEL
10                                             Attorney for BRYAN SMITH
11   Dated:    March 7, 2012                   /s/ T. Zindel for W. Bonham
                                               WILLIAM E. BONHAM
12                                             Attorney for BRUCE GOLDSMITH
13   Dated:    March 7, 2012                   /s/ T. Zindel for M. Hansen
                                               MICHAEL E. HANSEN
14                                             Attorney for ROBERT KLAUS
15   Dated:    March 7, 2012                   /s/ T. Zindel for S. KUBOCHI
                                               A. STANLEY KUBOCHI
16                                             Attorney for RYDER PHILLIPS
17   Dated:    March 7, 2012                   /s/ T. Zindel for H. GABLE
                                               HAYES H. GABLE, III
18                                             Attorney for KELLY SMITH
19
                                               BENJAMIN B. WAGNER
20                                             United States Attorney
21
     Dated:    March 7, 2012                   /s/ T. Zindel for R. Bender
22                                             RICHARD BENDER
                                               Assistant U.S. Attorney
23
24
25                                        O R D E R
26         The status conference is continued to March 30, 2012, at 9:00 a.m.
27   For the reasons set forth above, the court finds that the ends of justice
28   to be served by a continuance outweigh the best interests of the public


     Stip. in U.S.A. v. Smith, et al.          2
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1    and the defendant in a speedy trial and therefore excludes time under the
2    Speedy Trial Act through March 30, 2012.
3          IT IS SO ORDERED.
4    Dated:    March 7, 2012
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6                                        GARLAND E. BURRELL, JR.
7                                        United States District Judge

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     Stip. in U.S.A. v. Smith, et al.          3
